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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JUSTIN GUY, individually on behalf
  of himself and others similiarly situated,
                                                       Case No.: 20-CV-12734
        Plaintiff,
                                                       Hon. Mark A. Goldsmith
  v.

  ABSOPURE WATER COMPANY, LLC,
  a domestic limited liability company,

       Defendant.
  ___________________________________/

       PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
                        RELEVANT FACTS

        Plaintiff, Justin Guy, on behalf of himself and those similarly-situated Opt-in

  Plaintiffs, hereby Responds to Defendant’s “Statement of Relevant Facts”.

                       Defendant’s Interrogatory Nos. 1 and 3.

          1.     Identify the job titles or positions You held as part of Your employment
  with Absopure during the Relevant Time Period, including the dates You held such
  job titles or positions.

        3. Identify the date(s) You received a commercial driver's license (“CDL”), if
  any, and the dates that any such CDLs expired, if any have.

        Defendant’s Statement No. 1: The Plaintiffs in this case have been employed
  by Defendant in only one or both of two positions: Sales and Service Specialist
  (“Sales Specialist”) and “Sales and Service Specialist Trainee” (“Sales Specialist
  Trainee,” and, together with Sale Specialists, “Specialists”).

        Plaintiff’s Response to Defendant’s Statement No. 1: Defendant employs
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  a singular Truck Driver position in Michigan, though its document production refers

  to its drivers interchangeably as either “Route and Sales Delivery Drivers” or “Sales

  and Service Specialists,” and interchangeably refers to the Drivers “in training” as

  “Sales and Service Specialist Trainees,” or “Entry Level Route Delivery” Drivers.

  For example, Defendant claims that Plaintiff’s official job title was “Sales and

  Service Specialist Trainee,” but acknowledges that its internal documentation refers

  to him as a “driver” and “delivery driver”, and that the job postings indicate they are

  for a “Delivery Driver” position. 30(b)(6) Dep. 114:14-115:3. Defendant testified

  that the advertisements identify its Driver position as “Delivery Driver” because they

  “want (applicants) to understand that [ ] the sales position involves route delivery.”

  Id. at 122:25-123:5. Substantively, these job postings are for the same position that

  Defendant now refers to as “Sales Service Specialists Trainees and Sales Service

  Specialists.” See Defendant’s Second Supp. Answer to Request for Production

  (“RFP”) No. 8.1 Plaintiffs understood their job title to be that of a “Delivery Driver”,

  which is consistent with their “Driver’s Application for Employment.” Plaintiff’s

  Dep. 55:20-25. Ultimately, job titles are irrelevant, and the relevant consideration is


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   See also 30(b)(6) Dep. 117:16-22; 117:23:118:2 (“Q. Okay. So, you take out ads
  asking for ‘route delivery driver’ but for purposes of this litigation, you’re referring
  to the employees hired under this ad as ‘sales and service associates’, correct? A.
  “sales and service specialists, yes.”); 118:6-119:7 (“Entry-level route delivery” job
  postings are also referred to as “Sales service specialists.”); 119:4-7 (“Affirming that
  “all of the individuals in these job postings are” also referred to as “sales and service
  specialists.”).

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  whether the putative class members are/were subject to similar policy and practice

  that led to the FLSA violation. See, e.g., Bernardez v. Firstsource Sols. USA, LLC,

  2019 WL 4345986, at *6 (W.D. Ky. Sept. 12, 2019).

        Defendant’s Statement No. 2: All Specialists begin their employment with
  Defendant as Sales Specialist Trainees. Once a Sales Specialist Trainee has a)
  obtained their commercial driver's license (“CDL”), and b) has been assigned a
  regular route, he or she then becomes a Sales Specialist. Not all Sales Specialist
  Trainees stay employed by Defendant long enough to become Sales Specialists.

        Response to Defendant’s Statement No. 2: See Response to Defendant’s

  Statement No. 1. Plaintiff, Justin Guy, for example, worked for Defendant for more

  than one year, yet Defendant’s documentation still referred to him as a “trainee”

  even though he was employed “long enough.”

         Defendant’s Statement No. 3: Below is a list of the positions held by
  Plaintiffs beginning October 8, 2017 and the dates those positions where held and
  information regarding each Plaintiff’s CDL. Further, attached as Exhibit A is a list
  of the bates number ranges with Plaintiffs’ driving records that provide CDL
  information. See Chart and Defendant’s Ex. A at Defendant’s Statement of Relevant
  Facts.

        Response to Defendant’s Statement No 3: With respect to position title, see

  Response to Defendant’s Statement No. 1. With respect to dates of employment and

  dates of obtaining a CDL License, the Opt-in Plaintiffs interviewed thus far do not

  dispute the dates of employment or CDL license status provided.

  Defendant’s Interrogatory Nos. 2, 7 and 8

         2. Identify and describe the job duties and activities for each position You held
  as part of Your employment with Absopure during the Relevant Time Period.


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         7. Identify each day that You were employed by Absopure during the Relevant
  Time Period that you performed job duties prior to clocking in by placing Your
  employee badge next to the time clock and getting a signal from it at the Absopure
  facility out of which you worked and describe all such job duties that you performed,
  the amount of time it took you to perform those duties, and the circumstances that
  led You to performing those job duties prior to clocking in.

         8. Describe the job duties You performed while employed by Absopure during
  the Relevant Time Period a) prior to checking out your truck by confirming the
  inventory on the truck with the hand-held device before making deliveries , and b)
  after checking in Your truck on the hand-held device after making deliveries and
  returning to Absopure’s facility, including describing the amount of time it took You
  to perform each set of such job duties, and including, if applicable, describing the
  typical job duties you performed and amount of time it took and identifying any
  substantially greater or lesser number of duties and longer or shorter times it took
  and the circumstances of and number of occurrences of such longer or shorter times.

        Defendant’s Statement No. 4: All Specialists have the same job
  responsibilities and engage in the same job activities. The manner and degree in
  which each Specialist carries out these responsibilities and activities can vary
  depending on the experience and dedication of the Specialist.

         Plaintiff’s Response to Defendant’s Statement No. 4: Plaintiff agrees that

  the Opt-in Plaintiffs have the same job responsibilities and engage in the same job

  activities.

         Defendant’s Statement No. 5. Both Defendant’s Plymouth and Grand Rapids
  locations have a time clock near the entrance doors used by the Specialists, who pass
  by this clock on their way to their other job activities. The purpose of the time clock
  is to confirm each Specialist’s attendance on the job for that day. Specialists confirm
  their attendance by placing their employee identification badges next to the clock,
  which electronically registers the time that this occurs.

         Plaintiff’s Response to Defendant’s Statement No. 5: Defendant employs

  “the same timekeeping method at Absopure during the relevant time period from



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  2017 to” present. 30(b)(6) Dep. 70:4-7; 72:3-5 (Q: “And this is the same method of

  timekeeping used for all of the truck drivers in Michigan; correct?” A: “Yes.”).

  Specifically, Defendant does not track any of its Truck Drivers’ hours worked

  through a timekeeping system. Id. at 70:13-17. Defendant does not track the Truck

  Drivers’ clock-in time for when they arrive at Defendant’s facility in the beginning

  of the workday. Id. at 71:6-9. Likewise, Defendant also does not track the Truck

  Drivers’ clock-out time at the end of their workday. Id. at 71:16-19. Some of the

  Opt-in Plaintiffs interviewed thus far dispute the time clocks for purposes of

  clocking-in for attendance because they were advised by their supervisors that it was

  not necessary to “clock-in” by swiping their badge.

         Defendant’s Statement No. 6: The majority of Specialists, the majority of
  time, clock in in immediately upon entering the facility.

        Plaintiff’s Response to Defendant’s Statement No. 6: Plaintiff’s counsel is

  conferring with the Opt-in Plaintiffs to see if they “clocked-in” to Defendant’s

  purported attendance system “immediately upon entering the facility.” Some of the

  Opt-in Plaintiffs interviewed thus far advise that they did immediately “clock-in” for

  attendance purposes by swiping their badge, while others advise that they did not,

  seeing as how this they were not required to “clock-in” for purposes of timekeeping.

        Defendant’s Statement No. 7: After entering the building, and usually
  immediately after clocking in, the Specialist walks over to the place where the
  handheld devices are kept in charging stations and takes the one that he or she will
  use for the day.



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        Plaintiff’s Response to Defendant’s Statement No. 7: Plaintiff’s counsel is

  conferring with the Opt-in Plaintiffs concerning this statement.           Most Opt-in

  Plaintiffs interviewed thus far advise that they do not take the handheld from the

  charging station immediately after “clocking-in” for purposes of attendance. Rather,

  most Opt-in Plaintiffs advise that they complete other duties before getting the

  handheld device, which includes going to their mailbox to obtain and review their

  route or manifest for the day.

         Plaintiff’s Statement No. 8. The handheld devices are used to keep track of
  the inventory of items on a Specialist’s vehicle and to record sales or rentals of items.

        Plaintiff’s Response to Defendant’s Statement No. 8: The handheld devise

  is utilized to track the routes and the items delivered by Defendant’s Truck Drivers.

         Defendant’s Statement No. 9: After obtaining the hand-held device, the
  Specialist checks his or her mailbox for paperwork, some of which might be related
  to his route for that day.

        Plaintiff’s Response to Defendant’s Statement No. 9: See Response to

  Defendant’s Statement No. 7.

         Defendant’s Statement No. 10: After obtaining the handheld and checking
  his mailbox, the Specialist will walk to the warehouse to get the vehicle he will use
  for the day. The warehouse at the Plymouth facility is behind the front office while
  the warehouse at the Grand Rapids facility is right outside the front office door. The
  vehicle in the warehouse will have been loaded the night before by warehouse
  personnel with an inventory of items that had been specified by the Specialist at the
  end of the previous working day.

        Plaintiff’s Response to Defendant’s Statement No. 10: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

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  Plaintiffs advise that it took anywhere from two minutes to twenty minutes from the

  time they left the office to the time they arrived at the warehouse. This is partly due

  to Opt-in Plaintiff going to the cooler warehouse first. Once they reached their

  vehicle, some of the Opt-in Plaintiffs completed a DVIR inspection. It would take

  the Opt-in Plaintiffs that completed a DVIR inspection 10 – 45 minutes to complete.

  The Opt-in Plaintiffs advise that the vehicles would at times be pre-loaded with

  water, which was not always the case. Additionally, the Opt-in Plaintiffs advise that

  in addition to the water, they would load the water coolers and accessories. This

  took the Opt-in Plaintiffs anywhere between 5 minutes to one hour to obtain and

  load the coolers.

         Defendant’s Statement No. 11: The items on the vehicles loaded by the
  warehouse staff will include products to be sold, or potentially sold, to customers
  that day on the Specialists’ routes. Any equipment, such as water coolers or coffee
  makers, will be loaded by the Specialists.

        Plaintiff’s Response to Defendant’s Statement No. 11: Plaintiff objects to

  this statement as it seeks information irrelevant to the claims and defenses in this

  matter. See Response to Statement No. 10.

        Defendant’s Statement No. 12: Of the products loaded onto vehicles, the
  large majority have not been pre-ordered, but are what the Specialists’ estimate
  customers will order on the routes. For example, of the 156,503 orders created
  between January 1, and April 30, 2023, 17,886 of them were pre-orders, or about
  11.4% orders, and the remainder were created on the routes, about 88.6%.

        Plaintiff’s Response to Defendant’s Statement No. 12: Plaintiff objects to

  this statement as it seeks information irrelevant to the claims and defenses in this

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  matter. Plaintiffs lack knowledge regarding the numbers of pre-orders vs. “Orders

  created on the routes,” and Defendant has failed to produce any documents in

  discovery concerning Defendant’s contention in this regard. Most of the Opt-ins

  Plaintiffs interviewed thus far indicate that over 90% of the items that they delivered

  were pre-ordered. None of the Opt-ins Plaintiffs interviewed thus far concede to

  “asking” Defendant’s customers if they wanted additional products.

         Defendant’s Statement No. 13: At the Plymouth facility, from the
  warehouse, the Specialist will then drive the vehicle to the street outside of the main
  office and park along the curb.

        Plaintiff’s Response to Defendant’s Statement No. 13: Plaintiff objects to

  this statement because it is not relevant to this matter, or otherwise proportional to

  the needs of this case. It is also not clear what time period Defendant is referring to

  here. The Opt-in Plaintiffs interviewed thus far do not dispute this contention.

         Defendant’s Statement No. 14: After parking the vehicle in front at
  Plymouth, the Specialist will then go back into the office to obtain coffee items,
  either coffee bags or K-cups, and place them on the vehicle, if those items are part
  of the planned inventory for his route.

        Plaintiff’s Response to Defendant’s Statement No. 14: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far do not dispute this statement, and some of these Opt-

  in Plaintiffs indicate that they also had to wait to get cleared to leave, obtain gas card

  and/or handheld device at this time, and estimate that this took roughly ten minutes

  to complete.

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         Defendant’s Statement No. 15: The Specialist will then go get a
  manager and the Specialist and manager will perform a pre-trip safety inspection
  of the vehicle at front in Plymouth or in or by the warehouse at Grand Rapids.
        Plaintiff’s Response to Defendant’s Statement No. 15: : Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Some of the Opt-

  in Plaintiffs interviewed thus far deny that a manager ever came out for a pre-trip

  safety inspection. Rather, these Opt-in Plaintiffs advise that they did the pre-trip

  safety inspection themselves, and the managers would check off on it.


       Defendant’s Statement No. 16: After the safety inspection, the Specialist
  and manager will count together the inventory items on the vehicle. As this count is
  conducted, the Specialist will enter the number of each type of product and
  equipment into the handheld device.

        Plaintiff’s Response to Defendant’s Statement No. 16: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Some of the Opt-

  in Plaintiffs interviewed thus far indicate that the managers did not count the

  inventory with them. Rather, the managers would simply sign off on the Drivers’

  handheld device. This process could take up to 30 minutes depending on if there is

  a line to speak with the manager.

         Defendant’s Statement No. 17: Once the count is completed and the
  Specialist and manager agree on the inventory numbers, the Specialists will “check
  out” the vehicle using the handheld device. The time for the “check out” is recorded
  by the handheld device.
        Plaintiff’s Response to Defendant’s Statement No. 17: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in



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  Plaintiffs are not aware whether the time for the “check-out” was recorded by the

  handheld device.


         Defendant’s Statement No. 18: The series of job-related activities from
  entering the building to checking out the vehicle typically takes between 10 and 20
  minutes for the Plymouth facility and a few minutes less for Grand Rapids facility
  because the office and warehouse are closer to each. The variation in times mostly
  depend on the experience of the driver. The actual times may be longer due to non-
  work activities such as using the restroom.

        Plaintiff’s Response to Defendant’s Statement No. 18: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far indicated that this process took anywhere from 30 to

  90 minutes.


        Defendant’s Statement No. 19: After checking out the vehicle, the
  Specialist will then drive to the customers on his assigned route.
        Plaintiff’s Response to Defendant’s Statement No. 19: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs do not dispute this contention, except that some of the Opt-in Plaintiffs

  advise that they fueled their vehicles immediately after leaving the facility, which

  could take approximately ten to fifteen minutes.


        Defendant’s Statement No. 20: Sales Specialists have the same route
  assigned to them every day. Sales Specialist Trainees have different routes,
  depending on need, such taking over part of a Sales Specialist’s route who is on
  vacation.

        Plaintiff’s Response to Defendant’s Statement No. 20: With respect to the


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  Opt-in Plaintiffs interviewed thus far, the “trainees”, such as Plaintiff, also had

  assigned routes. At times, however, the trainees would also fill in for other drivers

  who may be out on leave or vacation. The only trainee that was interviewed thus far

  who indicated that he did not have an assigned route was George Woldt, which is

  likely due to the fact that he was only employed for approximately 1.5 months.


        Defendant’s Statement No. 21: Defendant provides each Specialist with an
  “optimized” route listing that orders customer stops to minimize driving mileage.
  Specialists are not required to follow this order and typically do not. Defendant does
  impose time limits or other requirements on how Specialists chose to drive their
  routes.
        Plaintiff’s Response to Defendant’s Statement No. 21: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far do not dispute the first two sentences in this statement,

  but do dispute that Defendant imposed time limits.


         Defendant’s Statement No. 22: Specialists are free to take breaks at
  any time while driving on their routes. Defendant does not set a maximum time for
  the routes to be completed. Most specialists take a lunch break and many take both
  a breakfast and lunch break as well as other breaks.

        Plaintiff’s Response to Defendant’s Statement No. 22: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far predominantly advise that they did not take a lunch

  break. A few of the Opt-in Plaintiffs interviewed thus far indicated that they took a

  lunch break sometimes, and one said very rarely. The individuals that took a break



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  indicated that they took 10–15 minutes to eat. The Only Opt-in Plaintiff interviewed

  thus far who indicated that they “sometimes” took a 20–30 minute lunch break is

  Keith Brown, and even then some of these lunch breaks would be completed while

  driving. In fact, the vast majority of Opt-in Plaintiffs interviewed thus far indicate

  that they ate lunch while driving. None of the Opt-in Plaintiffs interviewed thus far

  advised that they took a breakfast break, or any other break for that matter.


        Defendant’s Statement No. 23: Sales of products and sales and rentals
  of equipment occur at each customer stop. These sales occur in a number of different
  manners.
        Plaintiff’s Response to Defendant’s Statement No. 23: Plaintiff objects to

  this statement as it seeks information not relevant to the claims and defenses in this

  matter. Plaintiffs delivered goods to Absopure’s customers.


         Defendant’s Statement No. 24: For a residential customer buying 5-gallon
  water bottles, the customer will typically leave out a number of empty bottles, with
  the expectation that the Specialist will replace that same number with full bottles.
  Sometimes customers will leave notes or speak with the Specialist to state the number
  of bottles to order or equipment to rent or purchase. After the Specialist has left the
  full bottles or equipment, he will then record this number with the handheld device.
  Usually, the handheld device will then print out two copies of an invoice, one left
  for the customer and the other kept by the Specialist. Some customers who pay
  electronically will not receive a printed invoice.
        Plaintiff’s Response to Defendant’s Statement No. 24: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Some of the Opt-

  in Plaintiffs interviewed thus far dispute the contention that customers will leave

  notes or speak with them to state the number of bottles to order or equipment to rent

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  or purchase.


         Defendant’s Statement No. 25:         For customers who order coffee
  products, which are typically businesses, the Specialist will go in and speak with
  an employee of the business who will tell the Specialist the kind and number of
  products and, if applicable, equipment being ordered. After delivering these, the
  Specialist will likewise record the amounts with the handheld device, two invoices
  will be printed, and the time recorded.

        Plaintiff’s Response to Defendant’s Statement No. 25: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far do not dispute this statement.


         Defendant’s Statement No. 26: Customers pay for products a number of
  different ways. Many pay by credit card at the end of the month that is kept on file.
  Others pay by ACH direct debit. Some mail in a check. Some give a check or cash
  directly to the Specialist when the products are delivered.
        Plaintiff’s Response to Defendant’s Statement No. 26: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far do not dispute this statement.


         Defendant’s Statement No. 27: At customer locations, Specialists have
  opportunities to increase the revenue from products ordered by customers. These
  activities are recommended and encouraged by Defendant, but not required.
  Increasing revenue from sales on the route increases the Specialist’s commissions.
  These activities include a) persuading the customer to purchase additional items,
  especially higher margin products that earn higher commissions (upselling) b)
  suggesting/recommending additional or more frequent delivery dates, c) going to
  nearby homes and businesses to solicit new customers, and d) asking existing
  customers for referrals, e) working diligently to complete all of the customer stops
  on the route each day, and f) providing consistent good service that results in
  spontaneous referrals to new customers by current customers.



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        Plaintiff’s Response to Defendant’s Statement No. 27: Plaintiff objects to

  this statement of fact because it is irrelevant to the claims and defenses in this matter.


        Defendant’s Statement No. 28: After stopping by their last customer,
  Specialists will return to the facility, driving into the warehouse.

        Plaintiff’s Response to Defendant’s Statement No. 28: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interviewed thus far do not dispute this contention, except that one Opt-in

  Plaintiff advises that he had to go to the office first because his handheld device had

  issues.


        Defendant’s Statement No. 29: Upon arriving at the warehouse, the
  Specialist will meet with a warehouse employee in Plymouth, or the manager in Grand
  Rapids, and count with that person the number of empty bottles on the vehicle and
  make an inventory of the unsold products. That inventory count is entered into the
  handheld device. When the count is complete the vehicle is then checked in using the
  handheld device. The handheld device records the time of this check in.
        Plaintiff’s Response to Defendant’s Statement No. 29: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. With respect to the

  Opt-in Plaintiffs interviewed thus far, a few dispute that they counted the empty

  bottles with a warehouse employee, and one of the Opt-in Plaintiffs disputes that he

  went over the outstanding inventory with a warehouse employee. Most of the Opt-

  in Plaintiffs do not know when the handheld device is checked in. After the handheld

  device is checked at the time of check in, the Opt-in Plaintiffs would either park their

  truck and/or return to the office.

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        Defendant’s Statement No. 30: Specialists typically sell about eighty
  percent of the inventory they leave the facility with at the beginning of their routes
  and thus have about twenty percent of that inventory remaining on their vehicles
  when they return.

         Plaintiff’s Response to Defendant’s Statement No. 30: Plaintiff objects to

  this statement of fact because it is irrelevant to the claims and defenses in this matter.


         Defendant’s Statement No. 31: After checking in their vehicles, the
  Specialists walk to the front office of the facility. Upon arriving, they first turn in
  any cash or checks they have received from customers. They then turn in copies of
  the invoices printed by the handheld devices.
         Plaintiff’s Response to Defendant’s Statement No. 31: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The Opt-in

  Plaintiffs interview thus far do not dispute this contention. This process took ten to

  fifteen.


        Defendant’s Statement No. 32: After turning in cash, checks and invoices,
  the Specialists then synchronize their handheld devices by pressing a button on the
  devices, which causes all the data of handheld devices to be wirelessly uploaded into
  Defendant’s system. The Specialists then return the handheld devices to their
  charging stations.
         Plaintiff’s Response to Defendant’s Statement No. 32: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Roughly half of

  the Opt-in Plaintiffs interviewed thus far advised that they did not synchronize their

  handheld devise themselves. Rather, their managers synchronized the handheld

  device.




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         Defendant’s Statement No. 33: After turning in the handheld devices, the
  Specialists meet with a manager to review what happened on the route. This review
  will include the Specialists informing the manager of any customer vacations or
  closures. During this review, the Specialists fill out a “load sheet,” which is used to
  tell the warehouse personnel what products and equipment to load onto the
  Specialists’ vehicles for the following working day. By filling out the load sheets,
  the Specialists are estimating the amount of product they are likely to sell the next
  time they go on their routes, with additional amounts added to take advantage of
  opportunities for increased sales. Once the load sheet is filled out, the Specialists’ job
  responsibilities are complete for the day.

        Plaintiff’s Response to Defendant’s Statement No. 33: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. The vast majority

  of the Opt-in Plaintiffs agree with the gist of Defendant’s Statement No. 33, except

  that all of the Opt-in Plaintiffs interviewed thus far dispute that they discussing

  anything related to “selling” goods. This process took anywhere between 5 to 90

  minutes.


         Defendant’s Statement No. 34: During the review with the managers after
  completing their routes for the day, many Specialists ask the manager for an estimate
  of the amount of commissions they earned for that day, which the manager can look
  up on the system.
        Plaintiff’s Response to Defendant’s Statement No. 34: Plaintiff objects to

  this statement because it is irrelevant to the claims and defenses in this matter.


         Defendant’s Statement No. 35: The amount of time for work-related
  activities from checking in the vehicle in warehouse to completing the load sheets
  while meeting with the manager is typically 20-30 minutes in Plymouth and a few
  minutes shorter in Grand Rapids, with more experienced Specialists taking less time
  than the inexperienced. The actual times may be longer due to non-work activities
  such as using the restroom.



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        Plaintiff’s Response to Defendant’s Statement No. 35: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Every Opt-in

  Plaintiff interviewed thus far disputes this statement. Rather, the Opt-in Plaintiffs

  advised that this process took anywhere between 30 to 120 minutes.


  Defendant’s Interrogatory Nos. 4, 5 and 6

         4.     Identify each specific calendar week You claim to have
                worked more than 40 hours during that week while employed
                by Absopure during the Relevant Time Period.

         5.     For each week identified in response to Interrogatory No. 4,
                describe the facts upon which You base that allegation,
                including the total number of hours You claim to have worked
                during that week, the total number of overtime hours You are
                claiming for that week, how You determined those hours, and
                identify any documents, communications or other evidence
                You claim support Your allegations concerning the hours You
                worked.

         6.     For each week identified in response to Interrogatory No. 4,
                identify the total amount of overtime wages (or other wages,
                compensation or monies) that You claim to be owed and the
                reason You claim You were not properly paid and describe
                all calculation You used to come to the amount of overtime
                You claim to be owed.


         Defendant’s Statement No. 36: Defendant has produced lists of the clock-
  in times for each Plaintiff. Attached as Exhibit B is a list of the bates ranges for
  those lists. For those times when a Specialist did not clock in immediately upon
  arrival, a manager typically filled in a rough estimate for when the Specialist arrived.

        Plaintiff’s Response to Defendant’s Statement No. 36: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. As far as they

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  know, most of the Opt-in Plaintiffs interviewed thus far do not dispute the “clock-

  in” times provided as the range of accurate times that they clocked-in. They cannot,

  however, attest to when they “clocked-in” for purposes of attendance on every

  workday. Additionally, there was no incentive to “clock-in” immediately upon

  arriving to work because these “clock-in” records are/were not intended to serve as

  time records, but merely intended to serve as attendance records. This burden lies

  with the Defendant to maintain accurate time records, and Defendant admittedly

  failed to maintain same.

        Defendant’s Statement No. 37: Defendant has provided a list of the
  handheld device check-out and check-in times for each Plaintiff on a document
  bearing bates stamp numbers ABS -003751-004195.

        Plaintiff’s Response to Defendant’s Statement No. 37: Plaintiff objects to

  this statement. These records have not been authenticated, and there is no way to

  know what is missing. The Opt-in Plaintiffs cannot attest to the accuracy of this data.

  Defendant’s Interrogatory No. 18

         18.    If You claim that You are or were not exempt from the overtime
                provisions of the FLSA pursuant to section 13(b)(1) of the FLSA (29
                U.S.C. § 213(b)(1)) as being an employee with respect to whom the
                Secretary of Transportation has power to establish qualifications,
                describe with specificity all of the bases for such claim including all
                of the facts, documents, and communications on which You are
                relying.

         Defendant’s Statement No. 18: Defendant’s facts with respect to this
  interrogatory are contained in its answers to Opt-In Plaintiffs’ Interrogatories No.


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  3 and any supplements.

        Plaintiff’s Response to Defendant’s Statement No. 18: Plaintiffs are not

  exempt from the overtime provisions of the FLSA pursuant to section 13(b)(1) of

  the FLSA. The supporting facts and evidence are set forth in Plaintiff’s dispositive

  motion briefings, discovery responses, and certification briefings.

  Defendant’s Interrogatory No. 19

         19.    Identify each day that You drove a vehicle for Absopure during the
                Relevant Time Period that weighed than 10,000 pounds or less and
                each day that you drove a vehicle that weighed 10,001 pounds or more.

        Defendant’s Statement No. 19: Produced concurrently with these
  Statements is a list of the vehicles, the weights of those vehicles, and the route
  numbers that each Plaintiff drove during the relevant time frame bearing bates
  number range ABS 003581- 003738.

        Plaintiff’s Response to Defendant’s Statement No. 19: Plaintiff’s counsel

  is conferring with the Opt-in Plaintiffs concerning this statement. Plaintiffs cannot

  confirm the accuracy of this statement.

  Defendant’s Interrogatory No. 20:
         20.    If You denied any of Absopure’s Requests For Admission served
                concurrently with these interrogatories, then, with respect to each
                such denial, describe Your reasons for denial. For example, if You
                deny either Absopure’s Request Nos. 5 or 6 regarding how your
                compensation was calculated, describe any inaccuracy, omission, or
                mischaracterization You claim is in the Request and what You claim
                is an accurate, complete, and properly characterized description.

       Defendant’s Statement No. 20: The Court ordered that no response is
  needed for requests for admission.


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  Defendant’s Interrogatory No. 21

        21.    While You were employed by Absopure, did You ever complain about
               any alleged violations of the FLSA to any supervisor or manager or of
               any other failure to pay You what You believed You were owed? If so,
               describe Your complaint, to whom You made it, and Absopure’s
               response.

         Defendant’s Statement No. 39: Defendant has reviewed the personnel files
  for Plaintiffs and has not found records of complaints by Plaintiffs.

        Plaintiff’s Response to Defendant’s Statement No. 39: Plaintiff objects to

  this interrogatory because it not relevant to this matter.

  Defendant’s Interrogatory Nos. 22 and 23

        22.    Other than the other Plaintiffs in this action, identify all individuals
               whom You believe support Your claims that You are entitled to
               overtime compensation.

        23.    For each individual listed in response to Interrogatory No. 17, describe
               Your understanding of the knowledge each person has that supports
               Your claims in this case.

        Defendant’s Statement No. 40: No individuals support Plaintiffs’ claims.

        Plaintiff’s Response to Defendant’s Statement No. 40:             The Opt-in

  Plaintiffs support Plaintiff’s claims.

  Defendant’s Interrogatory No. 24

        24.    Identify each personal computer, mobile phone, or other electronic
               device (other than the hand-held device) capable of sending or
               receiving e-mails, text messages, data, or documents that You owned or
               used while You were employed by Absopure during the Relevant Time
               Period, , and identify the make and model of the devices, the operating
               systems, software and applications used by the devices, and the carriers

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              or providers that facilitated data communication services for the
              devices, and please identify whose possession each computer, device,
              etc., currently resides.

        Defendant’s Statement No. 24: The Court Ordered that Plaintiffs do not
  need to respond to this interrogatory.




                                      Respectfully submitted,
  Dated: June 9, 2023
                                      /s/ Michael N. Hanna
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